Case 3:22-cv-00049-NKM-JCH Document 227 Filed 06/06/23 Page 1 of 4 Pageid#: 2665




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,                               )
                                                   )
                   Plaintiffs,                     )
                                                   )
   v.                                              ) Case No. 3:22-cv-00049-NKM
                                                   )
   JOSHUA MAST, et al.,                            )
                                                   )
                   Defendants,                     )
                                                   )
   and                                             )
                                                   )
   UNITED STATES SECRETARY OF                      )
   STATE ANTONY BLINKEN, et al.,                   )
                                                   )
                   Nominal Defendants.             )
                                                   )



               PLAINTIFFS’ RESPONSE TO DEFENDANT RICHARD MAST’S
                      NOTICE OF SUPPLEMENTAL AUTHORITY

          While Plaintiffs do not oppose Richard Mast’s (“R Mast”) recent submission of orders

  from the Supreme Court of Virginia and the Virginia Court of Appeals regarding the courts’

  jurisdiction to hear interlocutory matters, Plaintiffs file this response to highlight the inaccuracy

  in R Mast’s assertion that “[t]he entirety of Plaintiffs’ case before this Court is based upon the

  false claim that Jane and John Doe are legal guardians of Baby Doe[.]” ECF No. 225 at 1.

          Jane and John Doe’s assertion of guardianship is not “false,” but neither does the

  “entirety” of their claims rest on that assertion. At least Plaintiffs’ claims for fraud (Count II),

  conspiracy (Count III), and intentional infliction of emotional distress (Count IV) do not require

  a showing that Jane and John Doe were Baby Doe’s guardians. Further, Plaintiffs’ claim for



                                                     1
Case 3:22-cv-00049-NKM-JCH Document 227 Filed 06/06/23 Page 2 of 4 Pageid#: 2666




  tortious interference with parental rights does not require that the adoption order obtained by

  Defendants Joshua Mast and Stephanie Mast (and procured by R Mast) be vacated – though it

  has been. See ECF No. 211-1. Thus, as further explained in opposition to the Defendants’

  motions to dismiss, see ECF No. 113, there is no basis on which to abstain in this matter.

         In addition, Plaintiffs note that one of R Mast’s “supplemental authorities” is a brief filed

  by Defendants Joshua Mast and Stephanie Mast in the Supreme Court of Virginia. See ECF No.

  225-3. A brief filed by a party is not “authority,” supplemental or otherwise. See, e.g., Mountain

  Valley Pipeline, LLC v. 8.37 Acres of Land, Owned by Terry, -- F. Supp. 3d --, 2023 WL

  2945316, at *3 (W.D. Va. April 14, 2023) (striking notices of supplemental authority because

  “the label belies their purpose because the submissions do not contain supplemental authority”

  but “additional argument”); Baker v. Boeing Co., 2021 WL 2819460, at *25 (D. S.C. May 19,

  2021) (striking notice of supplemental authority in part because “the exhibits that Plaintiff

  included . . . are not legal authority and cannot be provided to the Court under this misleading

  premise”).



  Dated: June 6, 2023                   Respectfully submitted,


                                        /s/ Maya Eckstein
                                        Maya M. Eckstein (VSB No. 41413)
                                        Lewis F. Powell III (VSB No. 18266)
                                        Kevin S. Elliker (VSB No. 87498)
                                        HUNTON ANDREWS KURTH LLP
                                        951 E Byrd St
                                        Richmond, VA 23219
                                        Telephone: (804) 788-8200
                                        Fax: (804) 788-8218
                                        Email: meckstein@HuntonAK.com
                                        Email: lpowell@HuntonAK.com
                                        Email: kelliker@HuntonAK.com



                                                   2
Case 3:22-cv-00049-NKM-JCH Document 227 Filed 06/06/23 Page 3 of 4 Pageid#: 2667




                               Jeremy C. King (admitted pro hac vice)
                               HUNTON ANDREWS KURTH LLP
                               200 Park Avenue
                               New York, NY 10166
                               Telephone: (212) 309-1000
                               Fax: (212) 309-1100
                               Email: jking@HuntonAK.com

                               Sehla Ashai (admitted pro hac vice)
                               ELBIALLY LAW, PLLC
                               704 East 15th Street
                               Suite 204
                               Plano, TX 75074
                               Telephone: (312) 659-0154
                               Email: ashai@elbiallylaw.com

                               Blair Connelly (admitted pro hac vice)
                               Zachary L. Rowen (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               1271 Avenue of the Americas
                               New York, New York 10020
                               Telephone: (212) 906-1200
                               Facsimile: (212) 751-4864
                               Email: Blair.Connelly@lw.com
                               Email: Zachary.Rowen@lw.com

                               Ehson Kashfipour (admitted pro hac vice)
                               Damon R. Porter (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               555 Eleventh Street, N.W. Suite 1000
                               Washington, D.C. 20004
                               Telephone: (202) 637-2200
                               Facsimile: (202) 637-2201
                               Email: Ehson.Kashfipour@lw.com
                               Email: Damon.Porter@lw.com


                               Attorneys for Plaintiffs




                                          3
Case 3:22-cv-00049-NKM-JCH Document 227 Filed 06/06/23 Page 4 of 4 Pageid#: 2668




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 6th day of June, 2023, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.

                                                       By:     /s/ Maya M. Eckstein
                                                               Maya M. Eckstein (VSB # 41413)
                                                               Hunton Andrews Kurth LLP
                                                               Riverfront Plaza, East Tower
                                                               951 East Byrd Street
                                                               Richmond, Virginia 23219-4074
                                                               Telephone: (804) 788-8200
                                                               Facsimile: (804) 788-8218
                                                               meckstein@HuntonAK.com

                                                               Counsel for Plaintiffs




                                                  4
